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                                                           Wednesday, 14 February, 2018 04:02:33 PM
                                                                       Clerk, U.S. District Court, ILCD

                    IN THE UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF ILLINOIS
                              URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
                     Plaintiff,           )
                                          )
       vs.                                )      Case No. 17-CR-20037
                                          )
BRENDT A. CHRISTENSEN,                    )
                                          )
                     Defendant            )

             THE UNITED STATES OF AMERICA’S MOTION TO COMPEL
             THE DEFENDANT TO PRODUCE PALM PRINT EXEMPLARS

       NOW COMES the United States of America, by John E. Childress, United States

Attorney for the Central District of Illinois, Eugene L. Miller and Bryan D. Freres,

Assistant United States Attorneys, and Department of Justice Trial Attorney James B.

Nelson, and respectfully moves this Court to compel the defendant to produce an

exemplar of his palm prints.

                                  FACTUAL SUMMARY

       The United States anticipates that its evidence at trial will include physical

evidence that was collected pursuant to search warrants. The physical evidence

includes certain palm prints that were gathered by means of forensic examination. In

preparation for trial, the United States must conduct additional analysis to determine

the source of the palm prints. This analysis requires an exemplar of the defendant’s

palm prints. The United States is aware of its obligations pursuant to Rule 16 of the
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Federal Rules of Criminal Procedure and will provide discovery of the palm print

analysis to the defendant as soon as it is available.

                                         ARGUMENT

I.     Compelling The Defendant To Provide Palm Print Exemplars Does Not
       Implicate The Fourth Amendment

       The Fourth Amendment prohibits unreasonable searches and seizures absent the

issuance of a search warrant. U.S. Const. Amend. 4. Compelling a person to provide

fingerprints or palm prints does not violate the Fourth Amendment. See, e.g., United

States v. Sechrist, 640 F.2d 81, 86 (7th Cir. 1981).

       As the Seventh Circuit noted in Sechrist, “‘What the Constitution forbids is not all

searches and seizures, but unreasonable searches and seizures.’” Id. (quoting Elkins v.

United States, 364 U.S. 206, 222 (1960)). Sechrist went on to hold that “taking a person’s

fingerprints simply does not entail a significant invasion of one’s privacy[,]” because

the act of taking fingerprints “involves only passive participation by the individual and

very little inconvenience” and does not include “‘probing into an individual’s private

life and thoughts[.]’” Id. (quoting Davis v. Mississippi, 394 U.S. 721, 727 (1969)).

       The defendant’s current detention at the Livingston County Jail further reduces

the Fourth Amendment implication. Id. (noting that the infringement on Sechrist’s

privacy was especially minor because he was incarcerated); see also Hudson v. Palmer,

468 U.S. 517, 528 (1984) (noting that “‘Loss of freedom of choice and privacy are

inherent incidents of confinement’”) (quoting Bell v. Wolfish, 441 U.S. 520, 537 (1979));

Smith v. United States, 324 F.2d 879, 882 (D.C. Cir. 1963) (holding that a detained


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defendant could be forced to provide palm prints because “it is elementary” that a

person in custody can be compelled to provide identifying information).

       The defendant has been detained since his arrest and, as such, has no reasonable

expectation of privacy in his person or possessions. Even if that weren’t true, however,

he would not have any basis to object to the taking of his palm prints because that act

does not constitute an unreasonable search and seizure. Accordingly, the Court may

compel the defendant to provide an exemplar of his palm prints without implicating the

Fourth Amendment.

II.   Compelling The Defendant To Submit Palm Print Exemplars Does Not
      Implicate The Fifth Amendment

       The Fifth Amendment provides that “no person shall be compelled in any

criminal case to be a witness against himself[.]” U.S. Const. Amend. 5. The Supreme

Court has interpreted the Fifth Amendment to preclude the United States from

compelling someone to provide any testamentary evidence. See, e.g., United States v.

Hubbell, 530 U.S. 27, 34-35 (2000).

       The Supreme Court has also long held, however, that evidence such as palm

prints are neither testamentary nor protected by the Fifth Amendment. For example, a

defendant can be compelled to put on a shirt to see whether it fits. Holt v. United States,

218 U.S. 245, 252–53 (1910). A defendant can be compelled to provide a blood sample to

test for alcohol content. Schmerber v. California, 384 U.S. 757, 763–65 (1966). A defendant

can be compelled to submit to the taking of fingerprints or photographs. Id. at 764;

United States v. Wade, 388 U.S. 218, 223 (1967). A defendant can be compelled to provide


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a voice exemplar so that witnesses can provide voice identification. Id. at 222–23. A

defendant can also be compelled to provide a handwriting exemplar for comparison

with handwriting already in evidence. Gilbert v. California, 388 U.S. 263, 266–67 (1967).

       These compellable acts have a common denominator – they reveal physical

characteristics about a person that can be provided without the person “giving

testimony.” The Supreme Court has long distinguished between compelling a person

to communicate something – a clear Fifth Amendment violation – and compelling a

person to do something. The latter does not violate the Fifth Amendment, even if the

doing of that thing displays a physical characteristic that is, itself, incriminating to the

defendant. Hubbell, 530 U.S. at 35.

       Here, the United States is not going to ask the defendant if the palm prints are

his. Rather, Special Agents of the Federal Bureau of Investigation will travel to the

Livingston County Jail and collect an exemplar of the defendant’s palm prints for

comparison with the palm prints already in evidence. Compelling the defendant to

submit to the taking of his palm prints does not require him to testify against himself;

thus, there is no Fifth Amendment violation.

                                      CONCLUSION

       The United States has a good-faith, evidentiary need to collect an exemplar of the

defendant’s palm prints. Compelling the defendant to provide a palm print exemplar

does not implicate the Fourth Amendment because the defendant has no reasonable

expectation of privacy in his palm print. Compelling the defendant to provide a palm




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print exemplar does not violate the Fifth Amendment because a palm print is not

testimonial.

      WHEREFORE, the United States of America respectfully requests that this Court

compel the defendant to provide a palm print exemplar to Special Agents of the FBI or

their designees.

                                        Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on February 14, 2018, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to counsel of record.



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